      Case 1:07-cr-00264-AWI Document 190 Filed 11/16/12 Page 1 of 2
                                                                              (SPACE BELOW FOR FILING STAMP ONLY)

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 4

 5   ATTORNEY FOR Defendant
     TARLOCHAN LASHER
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 7                         IN THE UNITED STATES DISTRICT COURT
 8                              EASTERN DISTRICT OF CALIFORNIA

 9                                              ******
     UNITED STATES OF AMERICA,                      CASE NO.: 1:07-CR-00264 AWI
10
            Plaintiff,
11
                                                    REQUEST TO EXONERATE BOND
12          v.                                      WITH ORDER

13   TARLOCHAN LASHER,

14          Defendant.

15

16          Defendant, TARLOCHAN LASHER, by and through his attorney of record, Carl M.

17   Faller, hereby requests that the following property posted as collateral in the above referenced

18   matter be exonerated and the Deed returned.

19          1. Kulwinder S. Lally and Kuldeep K. Lally, Deed No. 2009-0042419 – Docket #117

20   (filed December 21, 2009).

21          This request is based upon the fact that the Defendant, TARLOCHAN LASHER,

22   surrendered to the custody of the Bureau of Prisons on August 1, 2011.

23          Respectfully submitted,

24
     DATED:         October 2, 2012        By: /s/ Carl M. Faller
25
                                               CARL M. FALLER
26                                             Attorney for TARLOCHAN LASHER

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                                                    1
                                        REQUEST TO EXONERATE BOND
                      Case 1:07-cr-00264-AWI Document 190 Filed 11/16/12 Page 2 of 2
                                                      ORDER
 1

 2                         IT IS HEREBY ORDERED that the property bonds posted in the above entitled matter
 3   be exonerated and returned to the designated parties.
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 5
     IT IS SO ORDERED.
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 7   Dated:                 November 14, 2012
     DEAC_Signature-END:
                                                         UNITED STATES DISTRICT JUDGE
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                                                   REQUEST TO EXONERATE BOND
